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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


KIRA WAHLSTROM,
                   Plaintiff

v.                                                       NO. 1:19-cv-12208
ZURICH AMERICAN INSURANCE COMPANY
and AMERICAN GUARANTEE AND
LIABILITY INSURANCE COMPANY
                   Defendants



                ANSWER OF DEFENDANT AMERICAN GUARANTEE AND
                        LIABILITY INSURANCE COMPANY

                                        INTRODUCTION

       The defendant American Guarantee and Liability Insurance Company (“AGLIC”) says

that there are no factual allegations in this Introduction and that no answer is required. To the

extent there are factual allegations, they are denied.

                                             PARTIES

       1.       The defendant admits that Kira Wahlstrom is the plaintiff but is without

knowledge or information sufficient to form a belief as to the remaining allegations of this

paragraph.

       2.       The defendant denies that Zurich American Insurance Company’s headquarters

are in Zurich, Switzerland, but admits that Zurich has a principal place of business in

Schaumberg, Illinois.

       3.       The defendant says that the document speaks for itself.

       4.       Denied.

       5.       Admit.

       6.       Admit.
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       7.       Admit.

       8.       Admit.

       9.       Admit.

       10.      Admit.

                                               FACTS

       11.      The defendant says that the documents speak for themselves.

       12.      Admit.

       13.      Admit.

       14.      Admit.

       15.      Admit.

       16.      The defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph.

       17.      The defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph.

       18.      The defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph.

       19.      The defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph.

       20.      The defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph.

       21.      The defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph.

       22.      The defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph.

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       23.      The defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph.

       24.      The defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph.

       25.      The defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph.

       26.      The defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph.

       27.      The defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph.

       28.      The defendant admits that the plaintiff was raped in the garage.

       29.      Admit.

       30.      The defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph.

       31.      The defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph.

       32.      The defendant admits that Jose Rivera III pleaded guilty and is in prison. The

defendant is otherwise without knowledge or information sufficient form a belief as to the truth

of the remaining allegations.

       33.      The defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph.

       34.      The defendant admits that the plaintiff was harmed. It denies the remaining

allegations of this paragraph.



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       35.      The defendant admits that the plaintiff was harmed, but is otherwise without

knowledge or information sufficient to form a belief as to the truth of the allegations of this

paragraph.

       36.      The defendant admits that the plaintiff filed suit.

       37.      The defendant admits that the discovery period closed on September 30, 2013,

that it offered $100,000 at a mediation on May 10, 2013, and that the plaintiff rejected it. The

defendant denies the remaining allegations of this paragraph.

       38.      Admit.

       39.      The defendant admits that it increased the settlement offer to $450,000 and that

the plaintiff rejected it. The defendant denies the remaining allegations of this paragraph.

       40.      The defendant admits that: the case was tried to a jury from July 24 to August 11,

2015; the jury reached a verdict on July 11, 2015; the verdict was $4 million; and judgment

entered on September 14, 2015. The defendant says that the amount of the judgment speaks for

itself. Further answering, the defendant says that the judgment was vacated and a new trial

granted on May 19, 2016. Notwithstanding the absence of a judgment, the defendant has paid

the plaintiff the amount of any judgment that could enter as of November 19, 2019. As of the

date of this answer, there is no judgment.

       41.      The defendant admits that Lawrence Kenney was lead counsel, but otherwise

denies the allegations of this paragraph.

       42.      Admit.

       43.      Admit.

       44.      The defendant admits that AGLIC issued Policy No. AUC 9007010-04 with a

limit of liability of $25 million, but is otherwise without knowledge or information sufficient to

form a belief as to the truth of the remaining allegations of this paragraph.

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       45.      The defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph.

       46.      Deny.

       47.      Deny.

                                              CLAIMS

       48.      The defendant realleges its answers to paragraphs 1 through 47.

       49.      Admit.

       50.      The defendant says that this is a conclusion of law requiring no answer.

       51.      The defendant says that this is a conclusion of law requiring no answer.

       52.      Deny.

       53.      The defendant says that this is a conclusion of law requiring no answer.

       54.      The defendant says that this is a conclusion of law requiring no answer.

       55.      The defendant says that this is a conclusion of law requiring no answer.

       47.      [sic] Admit.

       48.      [sic] Deny.

       49.      [sic] Deny.

       50.      [sic] Deny.

       51.      [sic] The defendant says that this is a conclusion of law requiring no answer.

       52.      [sic] Deny.

                                    FIRST AFFIRMATIVE DEFENSE

                The plaintiff has failed to state a claim upon which relief can be granted.

                                   SECOND AFFIRMATIVE DEFENSE

                In response to Exhibit A of the Complaint, the defendant offered the plaintiff

$3,410,000 on September 6, 2018. At the time of the offer, the judgment in the underlying case

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had been vacated and a new trial had been granted. The offer is reasonable in relation to any

injury actually suffered as a result of any alleged violations of G.L. c. 93A.



                                              DEFENDANT,
                                              AMERICAN GUARANTEE AND LIABILILTY
                                              INSURANCE COMPANY,

                                              By its attorneys,


                                              /s/ Allen N. David
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Dated: November 20, 2019

                                 CERTIFICATE OF SERVICE

        I, Allen N. David, hereby certify that this document filed through the ECF system will be
sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be mailed by First Class Mail to those indicated as non-registered
participants on this 20th day of November, 2019.




                                               /s/ Allen N. David
                                              Allen N. David
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